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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )                4:08CR3095
                                     )
           V.                        )
                                     )
JESUS MENDIBIL,                      )          MEMORANDUM AND ORDER
                                     )
                  Defendant.         )
                                     )


     Defendant’s counsel of record, Michael D. Nelson, has moved
to withdraw due to a conflict of interest.            Filing 31.     The
above-named defendant is eligible for appointed counsel
pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the
Amended Criminal Justice Act Plan for the District of Nebraska.


     IT IS ORDERED:

     (1)   The motion to withdraw filed by attorney Michael D.
           Nelson, filing 31, is granted. Mr. Nelson shall
           promptly notify the defendant of the entry of this
           order. The clerk shall delete Mr. Nelson from any
           future ECF notifications herein.

     (2)   The Federal Public Defender shall forthwith provide the
           court with a draft appointment order (CJA Form 20)
           bearing the name and other identifying information of
           the CJA Panel attorney identified in accordance with
           the Criminal Justice Act Plan for this district.

     (3)   The newly appointed counsel shall promptly file an
           entry of appearance on behalf of the defendant.

     DATED this 2nd day of September, 2008.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
